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                                                      EXHIBIT C

                    Summary of Actual and Necessary Expenses for the Fee Period
                                  Service Description                       Amount
                                  Travel                            $     403.00
                                  Lexis                             $     209.33
                                  Duplicating                       $     317.40
                                  Duplicating-Color                 $     513.50
                                  Binding/Graphics/Video            $     187.00
                                  Travel-A/P Voucher                $     (25.00)

                                                   TOTAL            $   1,605.23




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